         Case 1:22-cv-10842-NMG Document 13 Filed 09/28/22 Page 1 of 2




                           UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS


 STRIKE 3 HOLDINGS, LLC,
                                                      Civil Action No. 1:22-cv-10842-NMG
            Plaintiff,

 v.

 JOHN DOE subscriber assigned IP address
 108.20.172.135,

            Defendant.


                  PLAINTIFF’S NOTICE OF SETTLEMENT AND
             VOLUNTARY DISMISSAL WITH PREJUDICE OF JOHN DOE


       PLEASE TAKE NOTICE, Plaintiff Strike 3 Holdings, LLC (“Plaintiff”) has settled this

matter with John Doe, subscriber assigned IP address 108.20.172.135 (“Defendant”), through

Defendant’s counsel, Edward Molari, Esq. Pursuant to the settlement agreement’s terms, Plaintiff

hereby voluntarily dismisses Defendant from this action with prejudice. Pursuant to Fed.R.Civ.P.

41(a)(1)(A)(i) Defendant John Doe has neither answered Plaintiff’s Complaint nor filed a motion

for summary judgment.

       Consistent herewith Plaintiff consents to the Court having its case closed for administrative

purposes.

       Dated: September 28, 2022                     Respectfully submitted,




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         Case 1:22-cv-10842-NMG Document 13 Filed 09/28/22 Page 2 of 2




                                             By:     /s/ Jacqueline M. James
                                                    Jacqueline M. James, Esq. (BBO #706668)
                                                    The James Law Firm, PLLC
                                                    445 Hamilton Avenue, Suite 1102
                                                    White Plains, New York 10601
                                                    T: 914-358-6423
                                                    F: 914-358-6424
                                                    E-mail: jjames@jacquelinejameslaw.com
                                                    Attorneys for Plaintiff




                                 CERTIFICATE OF SERVICE


       I hereby certify that on September 28, 2022, I electronically filed the foregoing

document with the Clerk of the Court using CM/ECF and that service was perfected on all

counsel of record and interested parties through this system




                                                       By: /s/ Jacqueline M. James ______




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